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                       I N THE U NITED S TATES D ISTRICT C OURT
                    FOR THE N ORTHERN D ISTRICT OF O KLAHOMA
                                      __________


UNITED STATES OF AMERICA,

                    Plaintiff,

v.                                                                 No. CR 10-116 BDB

NICK DEBRUIN,

                    Defendant.


                                 M EMORANDUM O PINION
                           IN S UPPORT OF O RDER D ENYING
                            D ISMISSAL OF C OUNTS 4 AND 6


      THIS MATTER is before the Court on the Motion of Defendant Nick DeBruin

to Dismiss [doc. 65], and the Court having held oral argument on February 7, 2011, and

considered all submissions of counsel, finds the Motion lacks legal support and must be

Denied.

                                    Legal Standard

      Dismissal of an indictment or counts thereof is a drastic and generally disfavored

remedy. United States v. Kingston, 971 F.2d 481, 491 (10th Cir. 1992); United States v.

Isgro, 974 F.2d 1091, 1097 (9th Cir. 1992). Facts stated in the indictment are to be

taken as true, United States v. Qayyum, 451 F.3d 1214, 1218 (10th Cir. 2006), and trial

courts may not consider evidence outside the indictment when deciding a motion under

F EDERAL R ULE OF C RIMINAL P ROCEDURE 12(b)(3). United States v. Self, 2 F.3d 1071,
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1082 (10th Cir. 1993). To be sufficient, an indictment must adequately set forth all the

essential elements of the charged offense sufficient to appraise defendant of the charges

he must meet. United States v. Todd, 446 F.3d 1063, 1067 (10th Cir. 2006); United States

v. Kovach, 208 F.3d 1215, 1218 (10th Cir. 2000).

      Defendant DeBruin argues Counts 4, 6, and 12 must be dismissed because they

fail to “allege that Officer DeBruin possessed the contraband [drugs] to keep, use for

himself or sell; rather it alleges he possessed it for purposes of ‘planting’ it at crime

scenes or on criminals.” (Def.’s Br. p. 2). The law requires this Court to reject

Defendant’s argument. It has repeatedly been recognized that police officers who use

seized drugs for such illicit purposes may be charged with criminal conspiracy under

our drug trafficking statutes. United States v. Radcliff, 331 F.3d 1153, 1155 (10th Cir.

2003); United States v. Haynes, 582 F.3d 686, 701 (7th Cir. 2009); United States v.

Patterson, 348 F.3d 218, 226 (7th Cir. 2003); United States v. Sanchez-Berrios, 424 F.3d

65, 72 (1st Cir. 2005); United States v. Duncan, 191 F.3d 569, 571 (5th Cir. 1999); United

States v. Washington, 106 F.3d 983, 1002-04 (D.C. Cir. 1997).

      This Court must also reject Defendant DeBruin’s argument that he cannot be

charged under 18 U.S.C. § 924(c) because “he cannot be found guilty of carrying a

firearm during a drug trafficking crime if he is only charged with planning to

possess/plant/traffic in them.” (Def.’s Br. p. 6). Haynes, 582 F.3d at 702; Patterson, 348

F.3d at 226; Sanchez-Berrios, 424 F.3d at 78; Washington, 106 F.3d at 1002-06, 1010;



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cf. Radcliff, 331 F.3d at 1157 (recognizing the potential charge but not necessary to

decide its validity).

       For the above stated reasons, Defendant DeBruin’s Motion to Dismiss will be

Denied.




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                                              B RUCE D. B LACK
                                              Chief Judge
                                              Sitting by Designation




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